Case 3:16-cv-01013-CAB-DHB Document 3 Filed 04/26/16 PageID.21 Page 1 of 3



1    PATRICK R. COSTELLO
     Florida Bar No. 75034
2
     SECURITIES AND EXCHANGE COMMISSION
3    100 F Street N.E.
     Washington, DC 20549-5985
4
     Telephone: (202) 551-3982
5    Facsimile: (202) 772-9245
     Email: costellop@sec.gov
6
     Attorney for Plaintiff
7
8                          UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   SECURITIES AND EXCHANGE
12   COMMISSION,
                                                    CASE NO. 16CV1013 WQH NLS
13                Plaintiff,
14
           vs.
15                                                  NOTICE OF RELATED CASE
16   ASHER Z. ZWEBNER,
                                                    [Civil Local Rule 40.1(f)]
17
                  Defendant.
18
19
20
           Plaintiff Securities and Exchange Commission, pursuant to Rule 40.1(f) of
21
     the Civil Local Rules of the United States District Court for the Southern District of
22
     California, hereby provides notice of the following related case filed in this District
23
     on April 25, 2016: SEC v. Luke C. Zouvas, Case No. 16CV0998 CAB DHB (the
24
     “Zouvas Action”).
25
           The Commission notes that both the above-captioned matter and the Zouvas
26
     Action, while based on different allegations of liability under the federal securities
27
     laws, involve some of the same underlying facts and some of the same parties. For
28

                                                             CASE NO. 16CV1013 WQH NLS
Case 3:16-cv-01013-CAB-DHB Document 3 Filed 04/26/16 PageID.22 Page 2 of 3



1    that reason, and in the interest of judicial economy, the Commission submits it may
2    be appropriate to assign both matters to a single district judge.
3
     DATED: April 26, 2016                    Respectfully submitted,
4
5                                             SECURITIES AND EXCHANGE
                                              COMMISSION
6
7                                             By: /s/ Patrick R. Costello

8                                                   PATRICK R. COSTELLO
                                                    Attorney for Plaintiff
9                                                   Email: costellop@sec.gov
10
11   OF COUNSEL:
12
     CAROLYN KURR
13   Maryland State Court E-file No. 9512130114
14   Email: kurrc@sec.gov
     KEITH O’DONNELL
15   District of Columbia Bar No. 230003
16   Email: odonnellk@sec.gov

17   Division of Enforcement
18   Securities and Exchange Commission
     100 F Street, N.E.
19   Washington, DC 20549
20   Telephone: (202) 551-7000
     Facsimile: (202) 772-9245
21
22
23
24
25
26
27
28

                                              -2-             CASE NO. 16CV1013 WQH NLS
Case 3:16-cv-01013-CAB-DHB Document 3 Filed 04/26/16 PageID.23 Page 3 of 3



1                            CERTIFICATE OF SERVICE
2         I certify that on April 26, 2016, I caused to be served the foregoing NOTICE
3    OF RELATED CASE by sending a copy by international mail to:
4
5       Asher Z. Zwebner
        20A Sha’arei Torah
6       Jerusalem 96387
7       Israel

8
9
                                                     /s/ Patrick R. Costello
10                                                   Patrick R. Costello
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
